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 5
     Attorney for Defendant
 6   VALERI MYSIN
 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                     IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   THE UNITED STATES OF             ) 2:11-cr-00427 LKK
     AMERICA,                         )
12                                    ) STIPULATION AND ORDER
                Plaintiff,            ) CONTINUING STATUS CONFERENCE
13   v.                               )
                                      )
14   VALERI MYSIN,                    )
                                      )
15              Defendant.            )
     ________________________________ )
16
17          Plaintiff United States of America, by and through its counsel of record, and
18   defendants, by and through their counsel of record, hereby stipulate as follows:
19          1.      By previous order, this matter was set for status on June 25, 2013 at 9:15 am in
20   Courtroom 7.
21          2.      By this stipulation, defendants now move to continue the status conference
22   until August 27, 2013, at 9:15 a.m. am in Courtroom 7 and to exclude time between June 25,
23   2013 and August 27, 2013 under Local Code T4. Plaintiff does not oppose this request.
24          3.      The parties agree and stipulate, and request that the Court find the following:
25          a.      The parties have commenced negotiations but have not yet reached resolutions.
26          b.      Counsel for defendants desire additional time to consult with their clients, to
27                  review the current charges, to conduct investigation and research related to the
28                  charges, and to discuss potential resolutions with their clients.


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 1         c.     Counsel for defendants believe that failure to grant the above-requested
 2                continuance would deny them the reasonable time necessary for effective
 3                preparation, taking into account the exercise of due diligence.
 4         d.     The government does not object to the continuance.
 5         e.     Based on the above-stated findings, the ends of justice served by continuing the
 6                case as requested outweigh the interest of the public and the defendants in a
 7                trial within the original date prescribed by the Speedy Trial Act.
 8         f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
 9                3161, et seq., within which trial must commence, the time period of June 25,
10                2013 to August 27, 2013, inclusive, is deemed excludable pursuant to 18
11                U.S.C.§ 3161(h)(7)(A), B(iv) and Local Code T4 because it results from a
12                continuance granted by the Court at defendants’ request on the basis of the
13                Court's finding that the ends of justice served by taking such action outweigh
14                the best interest of the public and the defendant in a speedy trial.
15         4.     Nothing in this stipulation and order shall preclude a finding that other
16   provisions of the Speedy Trial Act dictate that additional time periods are excludable from
17   the period within which a trial must commence.
18   IT IS SO STIPULATED.
19   Dated: June 19, 2013                                  /s/ Lee Bickley
                                                         LEE BICKLEY
20                                                       Assistant U.S. Attorney
21   Dated: June 19, 2013                                 /s/ John R. Duree, Jr.
                                                         JOHN R. DUREE, JR.
22                                                       Attorney for Valeri Mysin
23   Dated: June 19, 2013                                 /s/ Matthew Scoble
                                                         MATTHEW MCCRARY SCOBLE
24                                                       Attorney for Angela Shavlovsky
25   Dated: June 19, 2013                                 /s/ Dina Santos
                                                         DINA SANTOS
26                                                       Attorney for Michael Kennedy
27   Dated: June 21, 2013                                 /s/ Joseph Wiseman
                                                         JOSEPH WISEMAN
28                                                       Attorney for Alexander Kokhanets


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 1   Dated: June 21, 2013                         /s/ Clifford Scherer
                                                 CLIFFORD SCHERER
 2                                               Attorney for Boris Murzak
 3   Dated: June 21, 2013                         /s/ Julia Mary Young
                                                 JULIA MARY YOUNG
 4                                               Attorney for Zinaida Murzak
 5   Dated: June 19, 2013                         /s/ John Balazs
                                                 JOHN PAUL BALAZS
 6                                               Attorney for Vitaliy Tuzman
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 9
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12
                                         ORDER
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           IT IS SO FOUND AND ORDERED this 24th day of June.
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